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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

BERNICE DAVIS, )
Plaintiff,
v. Civil Case No. 18-204 (RJL)
ANDREW SAUL,
Commissioner of Social Security, )
Defendant.
MEMORANDUM OPINION

 

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June $© , 2020 [Dkt. ##9, 10]

Plaintiff Bernice Davis (“plaintiff’) brings this action against defendant Andrew
Saul, the Commissioner of Social Security (“defendant” or “Commissioner”). Plaintiff
seeks reversal under 42 U.S.C. § 405(g) of the Commissioner’s final decision denying
plaintiff's application for Supplemental Security Income benefits on the ground that the
decision was not based on substantial evidence. Before the Court is plaintiffs Motion for
Judgment of Reversal [Dkt. #9] and defendant’s Motion for Judgment of Affirmance [Dkt.
#10]. For the following reasons, the Court DENIES plaintiffs motion and GRANTS
defendant’s motion. .

BACKGROUND

On June 26, 2013, plaintiff filed an application for Supplemental Security Income

benefits, alleging that she had been disabled and unable to work since 1996 due to

depression, a mood disorder, and post-traumatic stress disorder. Administrative Record
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(“A.R.”) at 10, 68, 165-71 [Dkt. #8]. When she filed her application, Bernice Davis was
a 44-year-old woman living in Washington, D.C. A.R. at 19. She had dropped out of
school in the ninth grade but obtained her high school diploma in 2006. A.R. at 40, 257.
She does not have any college education or additional training. A.R. at 185, 257. She
worked in housekeeping in 1985, see A.R. at 257, as a babysitter from 2006 to 2007, see
A.R. at 40, 185, and again in housekeeping in 2014, see A.R. at 40, 238. Otherwise, she
has been unemployed. A.R. at 41. She has a history of alcohol and drug dependence as
well as depression and post-traumatic stress disorder. A.R. at 258-59, 285. As of the time
of her application, she consumed a substantial number of beers each day, see A.R. at 50,
259, but no longer used illicit drugs, see A.R. at 57-58. She is prescribed various
psychiatric medications but has not been compliant in regularly taking them. See A.R. at
50, 71, 214, 244.

On March 19, 2014, the Social Security Administration denied her disability claim,
A.R. at 89-91, and on May 1, 2014, it denied her request for reconsideration, A.R. at 94—
95, 97-99, Plaintiff then requested a hearing, A.R. at 100-01, which was held before an
Administrative Law Judge (‘ALJ’) on November 30, 2016, A.R. at 34-67, 137. On
February 24, 2017, the ALJ denied plaintiffs claim on the basis that, despite severe
impairments including a right ankle fracture, obesity, substance dependence, depression,
and post-traumatic stress disorder, plaintiff possessed the residual functional capacity to
perform medium-level work with some limitations. A.R. at 12-19. He determined that
plaintiff could perform jobs that existed in significant numbers in the national economy,

such as a packer, grader/sorter, or table worker. A.R. at 20. On November 17, 2017, the
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Appeals Council denied plaintiff's Request for Review, affirming the ALJ’s decision and
making the Commissioner’s decision final for purposes of judicial review. A.R. at 1-5.

On January 26, 2018, plaintiff filed this action seeking reversal of the
Commissioner’s final decision.

STANDARD OF REVIEW

The District Court must affirm an ALJ’s decision that is supported by “substantial
evidence” in the record. 42 U.S.C. § 405(g); Brown v. Bowen, 794 F.2d 703, 705 (D.C.
Cir. 1986). Substantial evidence is “such relevant evidence as a reasonable mind might
accept as adequate to support a conclusion.” Richardson v. Perales, 402 U.S. 389, 401
(1971) (quoting Cons. Edison Co. v. NLRB, 305 U.S. 197, 229 (1938)). The substantial
evidence standard demands “more than a ‘scintilla,’ but less than a preponderance of the
evidence.” Affum v. United States, 566 F.3d 1150, 1163 (D.C. Cir. 2009) (quoting Wis.
Power & Light Co. v. FERC, 363 F.3d 453, 461 (D.C. Cir. 2004)). This Court must engage
in “careful scrutiny of the entire record.” Brown, 794 F.2d at 705. However, the Court
must not substitute its own judgment for that of the Commissioner. Butler y. Barnhart,
353 F.3d 992, 999 (D.C. Cir. 2004).

When evaluating a claim of disability, the ALJ conducts a five-step inquiry to
determine ifthe claimant suffers from a “disability.” The burden of proof is on the claimant
to satisfy the first four steps. Stankiewicz v. Sullivan, 901 F.2d 131, 133 (D.C. Cir. 1990).
At step one, the claimant must show that she is not presently engaged in “substantial gainful
activity.” 20 C.F.R. §§ 404.1520(b), 416.920(b). If the ALJ determines the claimant is not

gainfully employed, at step two, the claimant must show she has a “severe impairment”
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that “significantly limits [her] . . . ability to do basic work activities.” Id. §§ 404.1520(c),
416.920(c). If the ALJ determines the claimant has a severe impairment, at step three, the
ALJ must determine whether the claimant’s impairment “meets or equals” an impairment
listed in the regulations. Jd. §§ 404.1520(d), 416.920(d). If it does, the claimant “is deemed
disabled and the inquiry is at an end.” Butler, 353 F.3d at 997; 20 C.F.R. §§ 404.1520(d),
416.920(d). If not, the Commissioner must assess the claimant’s “residual functional
capacity,” 20 C.F.R. §§ 404.1520(e), 416.920(e) — ie., the most work the claimant can
still perform despite her limitations, id. § 404.1545(a). At step four, the claimant must
demonstrate that she is incapable of performing her prior work based on her residual
functional capacity. Id. §§ 404.1520(f, 416.920(f).

If the claimant makes each of these four necessary showings, the burden shifts to
the Commissioner for the fifth step: to show that the claimant can do “other work,”
considering her age, education, past work experience, and residual functional capacity. Jd.
§§ 404.1520(f)-(g), 416.920(f}-(g). If the claimant is not able to do other work, she is
considered disabled and is entitled to benefits.

Here, the ALJ concluded that plaintiff was not engaged in substantial gainful
activity and had severe impairments, satisfying steps one and two. A.R. at 12. At step
three, the ALJ concluded that plaintiff did not have any impairment that met or equaled an
impairment listed in Appendix 1, A.R. at 12-14, and thus assessed her residual functional
capacity. At step four, the ALJ determined that plaintiff has the residual functional
capacity to perform “medium work” as defined in 20 C.F.R. § 416.967(c), except that she

could “stand or walk for 4 hours per day,” “occasionally operate controls with the right
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foot,” “frequently climb ramps, stairs, ladders, ropes, and scaffolds,” “frequently balance,
stoop, kneel, crouch, and crawl,” and “must avoid concentrated exposure to cold, wetness,
excessive vibration, hazardous machinery, and unprotected heights.” A.R. at 14. He
concluded she could perform “simple, routine, and repetitive tasks in a low stress
environment with no strict production quotas and occasionally interact with the public,
coworkers, and supervisors.” A.R. at 14. The ALJ then determined that plaintiff is “unable
to perform any past relevant work.” A.R. at 19. At step five, the ALJ concluded that,
considering her age, education, work experience, and residual functional capacity, “there
are jobs that exist in significant numbers in the national economy that [she] can perform.”
A.R. at 19-20.
ANALYSIS

Plaintiff contends the ALJ’s residual functional capacity assessment was not
supported by substantial evidence for four discrete reasons. First, plaintiff contends that in
assessing her residual functional capacity, the ALJ failed to “set forth a narrative
discussion” articulating “how the evidence supported each conclusion.” Mot. for J. of
Reversal at 5—6 [Dkt. #9]. For example, according to plaintiff, the ALJ failed to explain
the basis for his findings that plaintiff could “frequently climb ramps, stairs, ladders, ropes,
and scaffolds” and “perform simple, routine and repetitive tasks in a low stress work
environment with no strict production quotas.” /d. at 6. The ALJ must “build an ‘accurate
and logical bridge from the evidence to [his] conclusion’ so that, as a reviewing court, we

may assess the validity of the agency’s ultimate findings and afford a claimant meaningful
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judicial review.” Lane-Rauth v. Barnhart, 437 F. Supp. 2d 63, 67 (D.D.C. 2006) (alteration
in original) (quoting Scott v. Barnhart, 297 F.3d 589, 595 (7th Cir. 2002)).

Upon review of the ALJ’s analysis, I find the ALJ built a sufficiently “accurate and
logical bridge” for this Court to review his ultimate determination. The ALJ’s residual
functional capacity assessment discussed the various function reports, hearing testimony,
medical opinions, and state agency assessments in the record, assessed their consistency
with the objective medical evidence, and reasonably concluded that plaintiff could perform
simple, routine, and repetitive tasks in a low-stress environment. A.R. at 14-19. For
example, the ALJ’s analysis of plaintiff's physical capabilities considered her history of
ankle surgery, A.R. at 316, 374, a medical opinion that her gait was normal, A.R. at 374,
377, and her ability to perform daily tasks like grocery shopping and laundry without
assistance, A.R. at 194,261. See A.R. at 15-19. Likewise, the ALJ’s conclusion that she
should only “occasionally interact with the public, coworkers, and supervisors,” A.R. at
14, took into account plaintiff's testimony and her brother’s functional report, which
described plaintiff's difficulty interacting with others, on the one hand, and her ability to
leave the house, shop for groceries, and navigate public transportation, on the other hand,
see A.R. at 14-15. Plaintiff fails to show what more connection to the evidence was
needed. The ALJ’s discussion sufficiently fulfilled his obligation to complete a function-
by-function analysis that allows this Court to conduct a meaningful review. See Davis v.
Berryhill, 272 F. Supp. 3d 154, 172 (D.D.C. 2017). The ALJ’s conclusions were therefore

based on substantial evidence in the record.
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Second, plaintiff contends the ALJ’s assessment that plaintiff “can stand or walk for
4 hours per day,” A.R. at 14, contradicts his determination that plaintiff was capable of
“frequently” climbing, balancing, stooping, and crouching, A.R. at 14, tasks that require
being on one’s feet. Mot. for J. of Reversal at 7. The Commissioner responds that the term
“frequently” contemplates performing tasks for one- to two-thirds of the workday, which
squarely encompasses up to 4 hours on one’s feet. Mot. for J. of Affirmance at 13 [Dkt.
#10] (citing SSR 83-10, 1983 WL 31251, at *6 (Jan. 1, 1983)). Like the Commissioner, I
fail to see any inconsistency in the ALJ’s assessment. The ALJ performed a detailed
analysis of plaintiff's ankle fracture history and obesity, her physically active daily habits
such as grocery shopping and doing laundry, and her other physical characteristics. See
A.R, at 19. The ALJ reasonably concluded that plaintiff could stand or walk for up to 4
hours per day. Moreover, this level of activity is required by only some of the jobs the ALJ
found available to plaintiff in the national economy. See A.R. at 19-20. As such, I am
convinced that the ALJ’s assessment of plaintiff's capacity to perform certain tasks on her
feet was supported by substantial evidence.

Third, plaintiff contends the ALJ’s assessment failed to account for physicians’
evaluations that she “might miss 1-2 days/month due to depressive symptoms.” Mot. for
J. of Reversal at 8 (citing A.R. at 75). As the Commissioner notes, however, the ALJ
explicitly considered the state agency’s épinin, A.R. at 18-19, but determined that the
record holistically showed a “greater ability to maintain a regular work schedule,” A.R. at
19, This record included an opinion from consultative examiner Dr. White, who concluded

that plaintiff could maintain a regular schedule without any problems, A.R. at 261. The
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ALJ “acknowledged all of the medical opinions in the record, explained why he viewed
certain evidence as more credible than other evidence, and adequately explained” why he
rejected one physician’s assessment. Hartline v. Astrue, 605 F. Supp. 2d 194, 209 (D.D.C.
2009). The ALJ’s assessment of plaintiff's potential need to miss 1-2 days/month of work
was therefore supported by substantial evidence.

Fourth, plaintiff contends the ALJ ignored limitations in plaintiffs ability to
concentrate or persist. Mot. for J. of Reversal at 8-9. However, the Commissioner points
out that the ALJ’s limitation of plaintiff to simple, routine, repetitive tasks in a low-stress
environment was in direct response to plaintiffs potential issues with concentrating and
persisting. A.R. at 14, 18. The ALJ need not have gone further, as he also assigned
considerable weight to Dr. White’s opinion that plaintiff would “have no difficulty
following simple or complex directions,” “maintain[ing] a regular [work] schedule,” and
“learn[ing] new tasks.” A.R. at 18; see A.R. at 261. Plaintiff herself testified at the hearing
that while her mind races and she is often worried and unhappy, she does not have issues
focusing or concentrating. A.R. at 61-62.

Plaintiff's final objection is that the ALJ failed to properly assess plaintiff's
credibility before disregarding her subjective complaints of pain. Mot. for J. of Reversal
at 9-10. To the contrary, the ALJ explained that he did not credit plaintiff's claims
regarding the intensity of her ankle pain and her depression in part because plaintiff did not
continue with mental health services, did not consistently take psychiatric medications, and
did not follow up with physical therapy after her ankle surgery. A.R. at 17-18. The ALJ

also weighed plaintiff's “demonstrated independence at home and in the community”
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against her claimed disability. A.R. at 18. He further considered the opinions of two
doctors and two licensed social workers, all of whom assessed plaintiff to have moderate
mental functioning abilities. A.R. at 18. Reviewing this evidence, the ALJ concluded that
plaintiff's “statements concerning the intensity, persistence[,] and limiting effects of these
symptoms are not entirely consistent with the medical evidence.” A.R. at 16. Such a
determination is not for this Court to disturb! “The credibility determination is solely
within the realm of the ALJ” and is only to be disrupted when “an ALJ fails to articulate a
rational explanation for his or her finding.” Grant v. Astrue, 857 F. Supp. 2d 146, 156
(D.D.C. 2012). The ALJ reasonably explained his findings, which this Court must now
affirm.
CONCLUSION

For the foregoing reasons, plaintiff's Motion for Judgment of Reversal [Dkt. #9] is

DENIED, and defendant’s Motion for Judgment of Affirmance [Dkt. #10] is GRANTED.

An appropriate Order will issue with this Memorandum Opinion.

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RICHARD K.LBON
United States District Judge
